       Case 4:13-cr-00254-BLW Document 208 Filed 07/06/15 Page 1 of 2




                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                           Case No. 4:13-CR-254-BLW
            Plaintiff,
                            ORDER APPROVING
        vs.                 STIPULATION AND
                            AGREEMENT FOR
REYNALDA ESTRADA-GUTIERREZ, SETTLEMENT OF CLAIM OF
et al.,                     LUIS MORA-VICTORIA


            Defendants.




       The Court has before it a Stipulation and Agreement for Settlement of

 Claim (ECF No. 207) for compromise and settlement of the claims of interest

 of the United States and Luis Mora-Victoria (hereinafter “Petitioner”) in the

 following property:

            Smith and Wesson (under license of Walther) model P22, .22 caliber
            pistol, serial number L306034.

      The Court finds good cause to approve the Stipulation and Agreement (ECF

No. 207).

      NOW THEREFORE IT IS HEREBY ORDERED, that the above-referenced

Stipulation (docket no. 207) is APPROVED and SO ORDERED and that the




ORDER APPROVING STIPULATION - 1
       Case 4:13-cr-00254-BLW Document 208 Filed 07/06/15 Page 2 of 2




Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) may immediately

release the firearm to Petitioner Luis Mora-Victoria.



                                             DATED: July 6, 2015


                                             _________________________
                                             B. Lynn Winmill
                                             Chief Judge
                                             United States District Court




ORDER APPROVING STIPULATION - 2
